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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,

v.                                                     Case No. 06-20663

D-10, DEXTER HUSSEY,                                   HONORABLE AVERN COHN

     Defendant .
___________________________________/


     ORDER DENYING MOTION FOR PRODUCTION OF WITNESSES AT TRIAL


      Defendant’s Motion For Production Of Witnesses At Trial (Doc. 731) is DENIED.

      Defendant initially requested the government make available at trial Demetrius

Flenory and Terry Lee Flenory, who were co-leaders of the conspiracy which the

government charges defendant with being a member. On August 30, 2010, the Court in

a Memorandum (Doc. 729) stated that Terry Lee Flenory would be made available as a

witness, and that Demetrius Flenory’s testimony would be cumulative.

      Defendant’s Motion For Production Of Witnesses At Trial (Doc. 731) asks that

Demetrius Flenory be made available also. The motion does not explain the nature of the

testimony defendant would expect of Demetrius Flenory, or why his testimony would not

be cumulative to the testimony he expects to elicit from Terry Lee Flenory. It is for this

reason that the motion has been denied.

      SO ORDERED.

Dated: September 2, 2010                   s/Avern Cohn
                                          AVERN COHN
                                          UNITED STATES DISTRICT JUDGE
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                                                 06-20663-10 USA v. Dexter Hussey
                                 Order Denying Motion to Produce Witnesses at Trial


                              CERTIFICATE OF SERVICE


I hereby certify that a copy of the foregoing document was mailed to the attorneys of record
and Dexter Hussey, 4107 19th Street, Ecorse, MI 48229 on this date, September 2, 2010,
by electronic and/or ordinary mail.


                                           s/Julie Owens
                                          Case Manager, (313) 234-5160




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